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 1 BROWNE GEORGE ROSS LLP
   Keith J. Wesley (State Bar No. 229276)
 2  kwesley@bgrfirm.com
   Lori Sambol Brody (State Bar No. 150545)
 3  lbrody@bgrfirm.com
   Matthew L. Venezia (State Bar No. 313812)
 4   mvenezia@bgrfirm.com
   2121 Avenue of the Stars, Suite 2800
 5 Los Angeles, California 90067
   Telephone: (310) 274-7100
 6 Facsimile: (310) 275-5697
 7 Attorneys for Plaintiff and Counterdefendant
   Ironhawk Technologies, Inc.
 8
 9                           UNITED STATES DISTRICT COURT
10               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 IRONHAWK TECHNOLOGIES, INC.,                  Case No. 2:18-cv-01481-DDP-JEM
   a Delaware Corporation,                       The Hon. Dean D. Pregerson
13
                                                 MOTION IN LIMINE NO. 1
14              Plaintiff and                    CONCERNING UNRELATED USES
                Counterdefendant,                OF SMARTSYNC
15
         vs.                                     Judge: Hon. Dean D. Pregerson
16
   DROPBOX, INC., a Delaware
17 corporation,                                  Trial Date: October 22, 2019
                                                 Final Pre-Trial Conf. : October 7, 2019
18
                Defendant and
19              Counterclaimant.
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 1               PLEASE TAKE NOTICE that, on October 7, 2019 at 10:00 a.m., or as soon
 2 thereafter as it may be heard, in Courtroom 9C of the above-titled Court, located at
 3 350 West 1st Street, Los Angeles, California 90012, the Honorable Dean D.
 4 Pregerson presiding, plaintiff and counterdefendant Ironhawk Technologies, Inc.
 5 (“Ironhawk”) will, and hereby does, bring this Motion in Limine No. 1 to exclude
 6 evidence and argument concerning unsubstantiated and hearsay evidence of third-
 7 party use of Ironhawk’s SmartSync® mark, including but not limited to argument
 8 that prior use of the mark by any third party serves as a defense for Dropbox’s
 9 infringement (the “Motion”).
10               This Motion will be made pursuant to Rules 401, 402, 403, 801, and 802 of
11 the Federal Rules of Evidence, and the additional authorities cited herein. The
12 Motion is based on the following grounds:
13               •     Purported third-party use of Ironhawk’s SmartSync® mark prior to
14                     Ironhawk is irrelevant to Ironhawk’s trademark infringement claims,
15                     the only relevant consideration is whether Ironhawk has a superior right
16                     in the mark vis-à-vis Dropbox.
17               •     While third-party use of a mark can potentially weigh on its strength,
18                     that is only true insofar as the use is in the same or a related industry,
19                     and Dropbox has no admissible evidence to establish such foundation
20                     for relevance of its third-party use evidence.
21               •     The types of evidence Dropbox does have—Google and trademark
22                     search results and website printouts—has consistently been excluded
23                     on these grounds in infringement cases.
24               •     Dropbox’s Google and trademark search results and website printouts
25                     are inadmissible hearsay, as to be relevant, they must be offered to
26                     prove the truth of the matter asserted, i.e., the nature and scope of
27                     purported third-party use of SmartSync®.
28               •     Dropbox’s unsubstantiated third-party use evidence is unduly
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 1                     prejudicial being offered to confuse the jury and cause the jury to have
 2                     negative feelings towards Ironhawk based upon purported third-party
 3                     use that it has no ability to verify.
 4               The Motion is based on this Notice of Motion, the Memorandum of Points
 5 and Authorities, the declaration of Matthew L. Venezia (“Venezia Decl.”), all
 6 documents filed in this case, and any other evidence and argument the Court may
 7 consider.
 8               The Motion is made following a L.R. 7-3 conference of counsel that occurred
 9 on September 9, 2019.
10
11 Dated: September 16, 2019                    BROWNE GEORGE ROSS LLP
12                                                 Keith J. Wesley
                                                   Lori Sambol Brody
13                                                 Matthew L. Venezia
14
                                                By:        /s/Matthew L. Venezia
15                                                         Matthew L. Venezia
16                                              Attorneys for Plaintiff and Counterdefendant
                                                Ironhawk Technologies, Inc.
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.            INTRODUCTION
 3               Dropbox chose to move forward with the Smart Sync name for its data
 4 management software with full knowledge that Ironhawk had sold its competing
 5 data management software under the SmartSync® mark for nearly 15 years. Unable
 6 to combat these condemning facts, Dropbox offers a series of excuses why it should
 7 not be held liable for its conduct—e.g., and at issue in this Motion, a number of
 8 exhibits included in the Joint Exhibit List by Dropbox reflect purported third-party
 9 uses of “smart sync” without any admissible foundation as to the nature or extent of
10 the use. In other words, Dropbox intends to argue at trial that because someone else
11 has used or currently uses a variant of “smart sync,” Dropbox should be allowed to
12 do the same. But that is not the law.
13               As a threshold matter, prior use of a mark by a third party provides no defense
14 in a trademark infringement action, all that is relevant is whether the plaintiff has a
15 superior right in the mark vis-à-vis the defendant. Comm. for Idaho’s High Desert,
16 Inc. v. Yost, 92 F.3d 814, 820 (9th Cir. 1996). And while third-party use of a mark
17 may be relevant to its strength, that is only true insofar as that third-party use is in a
18 similar industry—thus the nature and scope of any such third-party use must be
19 demonstrated. Eclipse Assocs., Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th
20 Cir. 1990)
21               Here, Dropbox failed to depose or serve any discovery requests to any of the
22 third parties purportedly marketing products using variants of “smart sync,” and its
23 witness list does not identify a single witness from any of the purported third-party
24 users of “smart sync.” Thus, Dropbox will be completely unable to lay an
25 appropriate foundation demonstrating the nature and scope of any third-party use of
26 “smart sync,” rendering such evidence inadmissible.
27               Further, the Google and trademark search results and website screenshots
28 identified by Dropbox in the Joint Exhibit List are inadmissible hearsay. That is, for
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 1 these search results and website screenshots to be relevant they would have to be
 2 offered for the truth of the matter asserted—e.g., a statement on a website that a
 3 product performs a certain function similar to SmartSync® would be offered as
 4 evidence that third party’s product actually competes in the marketplace.
 5               Presenting evidence in this manner is highly prejudicial here where serious
 6 dispute exists as to whether the purported third-party uses are in in a similar industry
 7 to Ironhawk, but Ironhawk would be unable to cross-examine the third-party
 8 declarants concerning the nature of their purported use of “smart sync.” And
 9 Dropbox’s attempt to present evidence of third-party use of “smart sync” in this
10 indirect and summary manner is no mistake. Dropbox’s spurious claims of third-
11 party use include unrelated products such as an adjustable bed, waterfall pool
12 controller, skin cream, and a clock synchronization system, and would crumble
13 under individual examination of a declarant with personal knowledge of the use.
14               Accordingly, Ironhawk respectfully requests that the Court grant the Motion.
15 II.           EXHIBITS TO BE EXCLUDED
16               Ironhawk seeks to exclude any testimony, evidence, or argument that third-
17 party use of “smart sync” prior to Ironhawk invalidates Ironhawk’s rights in the
18 SmartSync® mark. Ironhawk further seeks to exclude any testimony, evidence, or
19 argument concerning third-party uses of “smart sync” that are not supported by
20 admissible foundation of the nature and extent of the use.
21               Such evidence includes, but is not limited to, Google search results,
22 trademark search results, website printouts. Attached hereto as ‘Exhibit A” is a list
23 identifying such inadmissible evidence included by Dropbox in the Joint Exhibit
24 List.
25 III.          ARGUMENT
26               A.    The Court May Exclude Irrelevant or Unsubstantiated Third-
27                     Party Use of “Smart Sync”
28               “Although the Federal Rules of Evidence do not explicitly authorize a motion
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 1 in limine, the Supreme Court has held that trial judges are authorized to rule on
 2 motions in limine pursuant to their authority to manage trials.” Copper Sands
 3 Homeowners Ass’n, Inc. v. Copper Sands Realty, LLC, 2012 WL 960459, *1 (D.
 4 Nev. Mar. 21, 2012), citing Luce v. United States, 469 U.S. 38, 41 n. 4 (1984).
 5               “The purpose of a motion in limine is to ask the court to rule on evidentiary
 6 issues in advance of trial . . ..” Dae Kon Kwon v. Costco Wholesale Corp., 2010
 7 WL 571941, *3 (D. Haw. Feb. 17, 2010) citing Bradley v. Pittsburgh Bd. of Educ.,
 8 913 F. 2d 1064, 1069 (3d Cir. 1990); Lee v. City of Columbus, Ohio, 2010 WL
 9 333665, *1 (S.D. Ohio Jan. 21, 2010). “This serves to avoid the futile attempt of
10 ‘unring[ing] the bell’ when jurors have seen or heard inadmissible evidence, even
11 when stricken from the record.” Crane-McNab v. County of Merced, 2011 WL
12 94424 (E.D. Cal. Jan. 11, 2011) citing Brodit v. Cambra, 350 F. 3d 985, 1004–05
13 (9th Cir. 2003).
14               “Motions in limine may also serve to save time by ruling on evidentiary
15 disputes in advance, minimizing side-bar conferences and other disruptions at trial
16 and potentially obviating the need to call certain witnesses.” Id. citing United States
17 v. Tokash, 282 F. 3d 962, 968 (7th Cir. 2002). The Court is not limited to
18 prohibiting the introduction of certain documents or information into evidence but
19 may also prohibit any mention of the excluded evidence in opening statements,
20 during trial, or in argument to the jury. Benedi v. McNeal-P.P.C., Inc., 66 F. 3d
21 1378, 1384 (4th Cir. 1995).
22               B.    Unrelated and Unsubstantiated Third-Party Use of “Smart Sync”
23                     Is Irrelevant
24               Evidence is only relevant if it has a tendency to make a fact of consequence
25 more or less probable. FED. R. EVID. 401. Irrelevant evidence is inadmissible. FED.
26 R. EVID. 402.
27               As a threshold matter, it is black letter law that “a third party’s prior use of a
28 trademark is not a defense in an infringement action.” Comm. for Idaho’s High
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 1 Desert, Inc., 92 F.3d at 820. As the leading commentator on trademark law explains:
 2                     “So long as plaintiff proves rights superior to defendant,
 3                     that is enough. Defendant is no less an infringer because it
 4                     is brought to account by a plaintiff whose rights may or
 5                     may not be superior to the whole world. The plaintiff’s
 6                     speculative dispute with a third party does not concern the
 7                     defendant.”
 8 J. THOMAS MCCARTHY, MCCARTHY ON TRADEMARKS AND UNFAIR COMPETITION, §
 9 31:160 (5th ed. 2019). Accordingly, evidence of third-party use of the SmartSync®
10 mark is irrelevant insofar as it provides no defense to Ironhawk’s infringement claim
11 against Dropbox.
12               Thus, third-party use of the SmartSync® mark may only potentially be
13 relevant as to the mark’s strength. That is true, however, only if the third-party use is
14 in the same or a related industry as Ironhawk. Rebelution, LLC v. Perez, 732 F.
15 Supp. 2d 883, 891–92 (N.D. Cal. 2010) (“Only uses within the relevant industry
16 actually weaken the mark”), citing Eclipse Assocs., Ltd., 894 F.2d at 1119
17 (“Evidence of other unrelated potential infringers is irrelevant to claims of
18 trademark infringement and unfair competition under federal law.”); see also
19 Rearden LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1211 (9th Cir. 2012)
20 (agreeing with district court’s rejection of argument that appellants’ marks were
21 weak because over 840 different companies used the mark or some variation thereof
22 because only four of those entities were in the plaintiff’s industry); M2 Software,
23 Inc. v. Madacy Ent., 421 F.3d 1073, 1087-88 (9th Cir. 2005) (affirming district
24 court’s exclusion of evidence of unrelated third-party marks).
25               For example, a tech company accused of infringing upon the Apple computer
26 company’s trade name cannot cite to the marketing efforts of the travel company
27 Apple Vacations as evidence that Apple computer’s mark is weak. Similarly,
28 Dropbox here should be barred from submitting evidence of or argument regarding
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 1 third parties who use variations of the SmartSync® mark in industries unrelated to
 2 Ironhawk.
 3               Applying the aforementioned general principles, courts have held that a
 4 defendant cannot rely on documents such as trademark search reports or internet
 5 search results that purport to show extensive use of a mark by third parties if the
 6 defendant does not also present corresponding evidence of the nature or scope of the
 7 third-party use referenced in those documents. See Internet Specialties West, Inc. v.
 8 ISPWest, 2006 WL 4568796, *1 (C.D. Cal. Sept. 19, 2006) (excluding printouts of
 9 website purporting to show third-party use of the mark at issue where defendant
10 lacked corresponding testimony from someone with knowledge of the site); Icon
11 Enters. Int’l, Inc. v. Am. Prods. Co., 2004 WL 5644805, *31 (C.D. Cal. Oct. 7,
12 2004) (excluding Thomson and Thomson search report because no evidence of how
13 marks were used and whether they were used in relevant industry); Centraz Indus.,
14 Inc. v. Spartan Chem. Co., Inc., 77 U.S.P.Q. 2d 1698, 2006 WL 236413, *5 (TTAB
15 2006) (“The trademark search report is not credible evidence of the third-party uses
16 or registrations listed in the report. . . Accordingly, the listings therein are not
17 entitled to any probative value.”); Nat’l Football League v. Jasper Alliance Corp.,
18 16 U.S.P.Q. 2d 1212, 1990 WL 354523, *4 n. 5 (TTAB 1990) (“[I]t is well settled
19 that a search report does not constitute evidence of the existence of a registration or
20 use of a mark”).
21               Here, Dropbox has not served discovery requests to, deposed any
22 representatives from, nor identified any witnesses on its witness list from any of the
23 purported third-party users of “smart sync.” (Venezia Decl., ¶ 2.) Instead, Dropbox
24 attempts to rely on the same type of evidence—search results and website
25 printouts—held to be irrelevant in Internet Specialties West, Icon Enters. Int’l,
26 Centraz Indus., and Nat’l Football League. Thus, Dropbox cannot lay the necessary
27 foundation to establish the relevance of any of its exhibits meant to assert third-party
28 use of “smart sync.”
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 1               C.    Dropbox’s Purported Evidence of Third-Party Use Is Hearsay
 2               Hearsay is an out-of-court statement offered for the truth of the matter
 3 asserted in the statement. FED. R. EVID. 801(c). Hearsay evidence is generally
 4 inadmissible under the Federal Rules of Evidence.1 FED. R. EVID. 801, 802.
 5               The documentary evidence challenged herein—Google and trademark search
 6 results and printouts from websites—is inadmissible hearsay. It is being offered for
 7 the truth of the matter asserted therein, i.e., that the results in the searches and
 8 website printouts evidence actual similar use of the SmartSync® mark. Therefore,
 9 even if the Court were to find that the challenged documentary exhibits were
10 relevant, they still are inadmissible under Rule 802. See, e.g., Saul Zaentz Co. v.
11 Wozniak Travel, Inc., 627 F. Supp. 2d 1096, 1112 (N.D. Cal. 2008) (“When a search
12 report is offered to prove what the report asserts, i.e., that a mark has been registered
13 and that it is in commercial use, this is classic inadmissible hearsay.”); Internet
14 Specialties, 2006 WL 4568796, at *2 (“A crowded field of similar marks is only
15 relevant if there are similar marks on similar goods. Print outs of websites are not
16 likely to demonstrate that the goods offered are similar, and to the extent that they
17 do, they are hearsay.”).
18               D.    Dropbox’s Purported Evidence of Third-Party Use Is Unduly
19                     Prejudicial and Likely to Mislead the Jury
20               Assuming arguendo that Dropbox’s purported evidence of third-party use was
21 in any way relevant (it is not), or not hearsay (it is), such evidence may be excluded
22 if is “probative value is substantially outweighed by a danger of . . . unfair prejudice,
23 confusing the issues, misleading the jury, undue delay, wasting time, or needlessly
24 presenting cumulative evidence.” FED. R. EVID. 403; see also Benna v. Reeder
25 Flying Serv., Inc., 578 F.2d 269, 274 (9th Cir. 1978) (affirming exclusion of
26
27  It is Dropbox’s burden to show that an exception to the rule against hearsay
     1

   applies, thus allowing admissibility. See Hill v. Novartis Pharm. Corp., 944 F. Supp.
28
   2d 943, 949–50 (E.D. Cal. 2013).
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  1 evidence related to parts of airplane engine unrelated to engine’s failure as likely to
  2 confuse issues, mislead the jury, and undue delay and waste of time).
  3               Here, there is serious risk that the jury could be confused or consider evidence
  4 as to the mere number of users of variants of “smart sync” to support Dropbox’s
  5 argument that Ironhawk’s SmartSync® is a descriptive mark, in contravention to the
  6 law. To be clear, it is no mistake that Dropbox failed to seek discovery or depose
  7 any representative from any purported third-party user of “smart sync”—in reality
  8 third-party use of “smart sync” variants in Ironhawk’s industry is limited—and
  9 claims of widespread use collapse under close examination. The meritless nature of
 10 Dropbox’s claims of third-party use is evidenced by the products cited to by
 11 Dropbox, including an adjustable bed, waterfall pool controller, skin cream, and a
 12 clock synchronization system. Thus, to allow such evidence to be presented in a
 13 manner that does not allow Ironhawk to meaningfully cross-examine concerning the
 14 purported uses would thus be patently unfair.
 15 IV.           CONCLUSION
 16               For the reasons set forth above, Ironhawk respectfully requests that this Court
 17 issue an order in limine instructing Dropbox and its counsel that they may not solicit
 18 testimony concerning, introduce into evidence, refer to, or make any argument
 19 concerning unrelated or unsubstantiated third-party use of “smart sync,” or that any
 20 such senior third-party use invalidates the SmartSync® mark.
 21 Dated: September 16, 2019                   BROWNE GEORGE ROSS LLP
 22                                                Keith J. Wesley
                                                   Lori Sambol Brody
 23                                                Matthew L. Venezia
 24
                                                By:        /s/Matthew L. Venezia
 25                                                        Matthew L. Venezia
 26                                             Attorneys for Plaintiff and Counterdefendant
                                                Ironhawk Technologies, Inc.
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  1                                   CERTIFICATE OF SERVICE
  2               I hereby certify that on this 16th day of September, 2019, I electronically filed
  3 the foregoing MOTION IN LIMINE NO. 1 CONCERNING UNRELATED
  4 USES OF SMARTSYNC with the Clerk of the Court using the CM/ECF system
  5 which will send notification of such filing to the following:
  6                                          SERVICE LIST
  7                         Ironhawk Technologies, Inc. vs. Dropbox, Inc.
                          USDC CD CA Case No. 2:18-cv-01481-DDP(JEMx)
  8
  9                Jennifer Lee Taylor                       Attorneys for Defendant
                   Sabrina A. Larson                         and Counterclaimant
 10                Esther Kim Chang                          Dropbox, Inc.
                   Nicolas T. Herrera
 11                Joyce Liou
                   MORRISON & FOERSTER LLP
 12                425 Market Street
                   San Francisco, California 94105
 13                Telephone: 415.268.7000
                   Facsimile: 415.268.7522
 14                Email:       jtaylor@mofo.com
                         slarson@mofo.com
 15                      echang@mofo.com
                         nherrera@mofo.com
 16                      jliou@mofo.com
                         Dropbox_MoFo@mofo.com
 17
 18                Wendy J. Ray
                   MORRISON & FOERSTER LLP
 19                707 Wilshire Boulevard
                   Los Angeles, California 90017
 20                Telephone: 213.892.5200
                   Facsimile: 213.892.5454
 21                Email:      wray@mofo.com
 22
                   Nicholas Ham                              Attorney for Third Parties
 23                MORRISON & FOERSTER LLP
                   755 Page Mill Road
 24                Palo Alto, California 94304
                   Telephone: 650.813.5600
 25                Facsimile: 650.494.0792
                   E-mail:     nham@mofo.com
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  1               Jeffrey M. Davidson                    Attorneys for Defendant
                  Matthew Q. Verdin                      and Counterclaimant
  2               Rebecca A. Jacobs                      Dropbox, Inc.
                  Clara J. Shin
  3               COVINGTON & BURLING LLP
                  415 Mission Street, Suite 5400
  4               San Francisco, California 94105
                  Telephone: 415-591-6000
  5               Facsimile: 415-591-6091
                  E-mail:       jdavidson@cov.com
  6                             rjacobs@cov.com
                                cshin@cov.com
  7                             mverdin@cov.com
  8
  9
 10
 11                                                 Andrea A. Augustine
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